                                          Case 3:22-cv-00140-WHO Document 33 Filed 04/22/22 Page 1 of 1




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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7     OMAR ABDULSATTAR AMEEN,                         Case No. 22-cv-00140-WHO
                                                       Plaintiff,
                                   8
                                                                                         JUDGMENT
                                                 v.
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                                  10     DAVID JENNINGS, et al.,
                                                       Defendants.
                                  11

                                  12          Judgment is hereby entered in Petitioner’s Writ for Habeas Corpus in accordance with the
Northern District of California
 United States District Court




                                  13   Court’s April 19, 2022, Order.

                                  14          IT IS SO ORDERED.

                                  15   Dated: April 22, 2022

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                                                                                                 William H. Orrick
                                  18                                                             United States District Judge
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